Case: 24-40315       Document: 80-2     Page: 1    Date Filed: 06/12/2024




        United States Court of Appeals
             for the Fifth Circuit
                             ___________

                              No. 24-40315
                             ___________

Space Exploration Technologies, Corporation,

                                                       Plaintiff—Appellant,

                                   versus

National Labor Relations Board, a federal
administrative agency; Jennifer Abruzzo, in her official
capacity as the General Counsel of the National Labor Relations Board;
Lauren M. McFerran, in her official capacity as the Chairman of the
National Labor Relations Board; Marvin E. Kaplan, in his official
capacity as a Board Member of the National Labor Relations Board; Gwynne
A. Wilcox, in her official capacity as a Board Member of the National Labor
Relations Board; David M. Prouty, in his official capacity as a Board
Member of the National Labor Relations Board; John Doe, in his official
capacity as an Administrative Law Judge of the National Labor Relations
Board,

                                        Defendants—Appellees.
               ______________________________

               Appeal from the United States District Court
                   for the Southern District of Texas
                          USDC No. 1:24-CV-1
               ______________________________

ORDER:
Case: 24-40315      Document: 80-2      Page: 2    Date Filed: 06/12/2024

                               No. 24-40315




      IT IS ORDERED that Appellees’ opposed motion to stay further
proceedings in this court pending indicative ruling motion in the district
court is DENIED.



                                   /s/ Carl E. Stewart           .
                                  Carl E. Stewart
                                  United States Circuit Judge




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